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Lauren J. Marcus, N.J. Bar No. 030012009
Anastasia Stylianou, N.J. Bar No. 198022017
LITTLER MENDELSON P.C.
One Newark Center, 8th Floor
Newark, New Jersey 07102
973.848.4700
Attorneys for Defendant
ClearChoice Management Services, LLC

                           UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW JERSEY


ABIGAIL ROTH,                                       Civil Action No. 1:21-cv-20440

                  Plaintiff,

vs.                                               DEFENDANT’S NOTICE OF REMOVAL

CLEARCHOICE MANAGEMENT                                         Electronically Filed
SERVICES, LLC,

                  Defendant.


TO:    THE CLERK AND THE HONORABLE JUDGES
       OF THE UNITED STATES DISTRICT COURT

       Defendant ClearChoice Management Services, LLC. (“Defendant”) by and through its

undersigned counsel of record, hereby file this Notice of Removal of the above-captioned action

to the United States District Court for the District of New Jersey from the New Jersey Superior

Court, Law Division, Burlington County, where the action is now pending, as provided by Title

28, United States Code, Chapter 89 and states:

                                      STATE COURT ACTION

       1.      Plaintiff Abigail Roth commenced this action in the Superior Court of New Jersey,

Law Division, Burlington County, by the filing of a Complaint on October 7, 2021, entitled Abigail

Roth v. ClearChoice Management Services, LLC, bearing Docket No. BUR-L-2158-21 (“the State
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Court Action”). The State Court Action is now pending in that court. Attached as Exhibit A is a

copy of the Summons and Complaint.

       2.      Defendant was served with the Summons and Complaint on November 9, 2021.

See Declaration of Jason Langley (“Langley Decl.”), ¶ 2, attached as Exhibit B.

       3.      The aforementioned documents constitute all “process, pleadings and orders”

served upon Defendants in the State Court Action, pursuant to 28 U.S.C. § 1446(a).

                                TIMELINESS OF REMOVAL

       4.      This Notice of Removal is timely filed within 30 days of November 9, 2021, as

required by 28 U.S.C. § 1446(b)(3) (“notice of removal may be filed within thirty days after receipt

by the defendant, through service or otherwise, of . . . other paper from which it may first be

ascertained that the case is one which is or has become removable”) and 28 U.S.C. § 1446(c)(3)(A)

(responses to discovery shall be treated as an “other paper” under 28 U.S.C. § 1446(b)(3)).

       5.      This notice of removal is also filed within one year of the commencement of the

State Court Action and therefore is timely under 28 U.S.C. § 1446(c)(l).

                                     DIVERSITY JURISDICTION

       6.      The United States District Court for the District of New Jersey has diversity

jurisdiction in this case based on 28 U.S.C. § 1332. Diversity jurisdiction exists when the amount

in controversy exceeds $75,000, exclusive of interest and costs, and the dispute is between citizens

of different states. Id. at § 1332 (a)(1). As explained below, both of these requirements have been

met.

       A.      Citizens of Different States

       7.      At the time of filing of the Complaint and at the time of removal, Plaintiff purports

to be a resident of Pennsylvania. See Exhibit A at ¶ 1.




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       8.      As a Limited Liability Company, Defendant is deemed to be a citizen of both the

state in which its members reside or are incorporated and the state where its members have its

principal place of business. 28 U.S.C. § 1332(c).

       9.      ClearChoice Management Services, LLC is a Colorado limited liability company

wholly owned by ClearChoice Holdings, LLC. ClearChoice Holdings, LLC is a Colorado limited

liability company wholly owned by Dental Implant Holdings, LLC. Dental Implant Holdings, LLC

is a Delaware limited liability company wholly owned by CC Dental Implants Blocker, LLC. CC

Dental Implants Blocker, LLC is a Delaware limited liability company wholly owned by CC

Dental Implants Parent, LLC. CC Dental Implants Parent, LLC is a Delaware limited liability

company wholly owned by CC Dental Implants Intermediate Holding, LLC. CC Dental Implants

Intermediate Holding, LLC is a Delaware limited liability company wholly owned by CC Dental

Implants Holding, LLC. CC Dental Implants Holding, LLC is a Delaware limited liability

company wholly owned by Colorado Purchaser, Inc. See Langley Decl. ¶¶ 3-9.

       10.     Colorado Purchaser Inc. is a Delaware corporation. It is a holding company without

a “headquarters,” but its principal place of business as 281 Sanders Creek Parkway, East Syracuse,

NY 13057. See Langley Decl., ¶ 10.

       11.     For purposes of diversity jurisdiction, a corporation is deemed to be a citizen of the

state in which it was incorporated and the state where it has its principal place of business. 28

U.S.C. § 1332(c)(1). A corporation’s principal place of business is its “nerve center” – the place

“where a corporation’s officers direct, control, and coordinate the corporation’s activities.” Hertz

Corp. v. Friend, 130 S. Ct. 1181, 1192 (2010).

       12.     Thus, Defendant is a citizen of Delaware for purposes of 28 U.S.C. § 1332.




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         13.   Complete diversity exists now and at the time the State Court Action was filed

because Plaintiff and Defendant are citizens of different states.

         B.    Amount in Controversy Met 1

         14.   The matter in controversy in the State Court Action exceeds the sum or value of

$75,000.00. See 28 U.S.C. § 1332(a).

         15.   The Complaint filed by Plaintiff alleges causes of action for sexual harassment and

constructive discharge. See Exhibit A. Plaintiff did not allege a specific of amount of damages in

her Complaint. Although Defendant submits that Plaintiff is not entitled to any recovery, Plaintiff

states that her claimed damages are “Compensatory damages including back and/or front pay and

any other benefits or perquisites or compensation as applicable, reimbursement of all expenses and

financial losses Plaintiff incurred as a result of Defendant’s actions and compensation for

emotional pain and suffering,” “[r]easonable attorney’s fees (should she hire one) and costs,”

“[p]unitive damages,” and “[s]uch other relief as this Court shall deem appropriate.” Id. at

WHEREFORE clauses.

         16.   According to a reasonable reading of the Complaint and a preponderance of the

evidence, the amount in controversy, exceeds the jurisdictional minimum of $75,000.00. See

Angus v. Shiley, Inc., 989 F.2d 142, 146 (3d Cir. 1993) (where plaintiff does not set a limit for

damages, the Court should make a reasonable reading of the value of the claim that plaintiff has

asserted and come to an independent valuation of the amount plaintiff has claimed).




1
  Defendant does not concede that Plaintiff’s allegations are true or that her claims have any merit.
Defendant provides the following only to demonstrate that the amount in controversy, based on
the demand and relief sought by Plaintiff, taken as a whole far exceeds the $75,000 jurisdictional
requirement. Thus, this Court has original jurisdiction over the claims asserted by Plaintiffs in this
action based on diversity of citizenship jurisdiction under 28 U.S.C. §§ 1332(a) and 1441(a).



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        17.     Plaintiff’s position with Defendant ended on October 7, 2019. See Exhibit A,

Compl. ¶ 20. At the time of the termination of her employment, Plaintiff was employed full-time

and earned approximately $65,000 per year. Assuming Plaintiff seeks back pay through a trial

date that is likely to be set for a date 18 months from the filing of her Complaint (i.e., April 2023),

a reasonable estimate of Plaintiff’s alleged economic losses (i.e., back pay, front pay, loss of

benefits), should she prevail, exceed the sum or value $75,000.00. See Angus, 989 F.2d at 146.

        18.     Plaintiff also seeks compensatory and punitive damages. “The Court must consider

the plaintiffs’ demand for punitive damages when calculating the amount in controversy, and can

aggregate these damages with the requested compensatory damages.” See Goralski v. Shared

Techs., Inc., 2009 U.S. Dist. LEXIS 69042, *15-16 (D.N.J. Aug. 7, 2009); see also Golden v.

Golden, 382 F.3d 348, 355 (3d. Cir. 2004) (noting that jurisdictional amount in controversy may

be satisfied on the basis that the complaint seeks punitive damages and such claims are not patently

frivolous and without foundation).

        19.     Aggregating these amounts, as is appropriate for evaluating removal based on

diversity jurisdiction, the amount in controversy exceeds the jurisdictional minimum of

$75,000.00. See Frederico v. Home Depot, 507 F.3d 188, 197 (3d Cir. 2007) (aggregating punitive

damages and attorney’s fees when calculating amount in controversy); see also Raspa v. Home

Depot, 533 F.Supp.2d 514, 522 (D.N.J. 2007) (noting that even on its own, “a request for punitive

damages will generally satisfy the amount in controversy requirement[.]”).

        20.     Accordingly, this Court possesses original jurisdiction over this action under 28

U.S.C. § 1331 (a), which provides for original jurisdiction of all civil actions where the matter in

controversy exceeds the sum or value of $75,000, exclusive of interest and costs, and is between

citizens of different states.




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                                              VENUE

       21.     The United States District Court for the District of New Jersey is the District Court

of the United States within which Plaintiffs’ state court action is currently pending.

       22.     The Notice of Removal is being filed in the United States District Court for the

District of New Jersey within 30 days of the date upon which Defendants were served with the

Summons and Complaint, as required by 28 U.S.C. § 1446(b). Attached as Exhibit C is a copy

of the Notice of Filing of Notice of Removal to the Clerk of the New Jersey Superior Court, the

original of which will be filed with the New Jersey Superior Court Clerk, Law Division, Burlington

County as required by 28 U.S.C. § 1446(d).

                                   NOTICE TO PLAINTIFFS

       23.     Upon filing of the Notice of Removal, Defendant also gave written notice thereof

to Plaintiff pursuant to 28 U.S.C. § 1446(a). Attached hereto as Exhibit D is a copy of the Notice

to Adverse Party of Filing of Notice of Removal, the original of which is being served on Plaintiff.

       24.     By filing the Notice of Removal, Defendant does not waive any objections they

may have as to service, jurisdiction, or venue, or any other defenses available to it at law, in equity

or otherwise. Defendant intends no admission of fact or law by this Notice and expressly reserve

all defenses and motions.

       25.     If the Court should be inclined to remand this action, Defendant requests that the

Court issue an Order to Show Cause why the case should not be remanded, providing Defendant

an opportunity to present briefing and argument prior to any possible review. Because a remand

order is not subject to appellate review, such a procedure is appropriate.

       26.     As required by 28 U.S.C. § 1446(a), this Notice of Removal is signed under Rule

11 of the Federal Rules of Civil Procedure.




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                                     RELIEF REQUESTED

       27.     Defendant requests that the United States District Court for the District of New

Jersey assume jurisdiction over the above-captioned action and issue such further orders and

processes as may be necessary to bring before it all parties necessary for the trial of this action.

       WHEREFORE, Defendant respectfully requests that the foregoing action be removed

from the Superior Court of New Jersey, Law Division, Burlington County, to the United States

District Court for the District of New Jersey.



Dated: December 9, 2021                            Respectfully submitted,


                                                   /s/ Lauren J. Marcus
                                                   Lauren J. Marcus
                                                   Anastasia Stylianou
                                                   LITTLER MENDELSON P.C.

                                                   Attorneys for Defendant
                                                   ClearChoice Management Services, LLC




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      EXHIBIT A
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        EXHIBIT B
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Lauren J. Marcus, N.J. Bar No. 030012009
Anastasia Stylianou, N.J. Bar No. 198022017
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One Newark Center, 8th Floor
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973.848.4700
Attorneys for Defendant
ClearChoice Management Services, LLC

                              UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEW JERSEY


ABIGAIL ROTH,                                      Civil Action No. 1:21-cv-20440

                     Plaintiff,

vs.                                               DECLARATION OF JASON LANGLEY
                                                     IN SUPPORT OF NOTICE OF
CLEARCHOICE MANAGEMENT                                      REMOVAL
SERVICES, LLC,
                                                              Electronically Filed
                     Defendant.


       I, Jason Langley, under 28 U.S.C. § 1746, declare that I am over the age of eighteen and

that the following statements are true and correct and based upon personal knowledge and

documents maintained in the ordinary course of business:

       1.     I am the Chief Legal Officer of Defendant ClearChoice Management Services, LLC

(“Defendant”). I have been an attorney for Defendant since 2012. I am a licensed attorney in the

State of Colorado.

       2.     Defendant was served with the Summons and Complaint in this matter on

November 9, 2021.

       3.     ClearChoice Management Services, LLC is a Colorado limited liability company

wholly owned by ClearChoice Holdings, LLC.
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       4.      ClearChoice Holdings, LLC is a Colorado limited liability company wholly owned

by Dental Implant Holdings, LLC.

       5.      Dental Implant Holdings, LLC is a Delaware limited liability company wholly

owned by CC Dental Implants Blocker, LLC.

       6.      CC Dental Implants Blocker, LLC is a Delaware limited liability company wholly

owned by CC Dental Implants Parent, LLC.

       7.      CC Dental Implants Parent, LLC is a Delaware limited liability company wholly

owned by CC Dental Implants Intermediate Holding, LLC.

       8.      CC Dental Implants Intermediate Holding, LLC is a Delaware limited liability

company wholly owned by CC Dental Implants Holding, LLC.

       9.      CC Dental Implants Holding, LLC is a Delaware limited liability company wholly

owned by Colorado Purchaser, Inc.

       10.     Colorado Purchaser Inc. is a Delaware corporation. It is a holding company without

a “headquarters,” but its principal place of business as 281 Sanders Creek Parkway, East Syracuse,

NY 13057.



        I hereby declare that the above statement is true to the best of my knowledge and belief,

 and that I understand it is made for use as evidence in court and is subject to penalty for perjury.



Dated: December 9, 2021
                                                  Jason Langley, Esq.




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       EXHIBIT C
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Lauren J. Marcus, N.J. Bar No. 030012009
Anastasia Stylianou, N.J. Bar No. 198022017
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One Newark Center, 8th Floor
Newark, New Jersey 07102
973.848.4700
Attorneys for Defendant
ClearChoice Management Services, LLC


ABIGAIL ROTH,                                        SUPERIOR COURT OF NEW JERSEY
                                                     LAW DIVISION: BURLINGTON
                   Plaintiff,                                 COUNTY

vs.                                                  Civil Action No. BUR-L-002158-21
CLEARCHOICE MANAGEMENT
SERVICES, LLC,
                                                       NOTICE TO STATE COURT OF
                   Defendant.                             FILING OF REMOVAL


TO:    Clerk, Superior Court of New Jersey
       Law Division, Burlington County
       49 Rancocas Road
       Mount Holly, NJ 08060

SIR OR MADAM:

       PLEASE TAKE NOTICE that, pursuant to 28 U.S.C. §§1441 and 1446, Defendant

ClearChoice Management Services, LLC. (“Defendant”) has filed a Notice of Removal of the

above-captioned action in the United States District Court for the District of New Jersey. Attached

hereto as Exhibit A is a copy of the Notice of Removal of this case. Upon filing of this Notice of

Filing of Notice of Removal, Defendant shall give written notice thereof to Plaintiff.

       Pursuant to 28 U.S.C. 1446(d), the filing of the Notice of Removal in the United States

District Court for the District of New Jersey, together with the filing of a copy of the Notice of

Removal with this Court, effects the removal of this action, and this Court may proceed no further

unless and until the action is remanded.
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Dated: December 9, 2021               Respectfully submitted,


                                      /s/ Lauren J. Marcus
                                      Lauren J. Marcus
                                      Anastasia Stylianou
                                      LITTLER MENDELSON P.C.

                                      Attorneys for Defendant
                                      ClearChoice Management Services, LLC




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       EXHIBIT D
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Lauren J. Marcus, N.J. Bar No. 030012009
Anastasia Stylianou, N.J. Bar No. 198022017
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973.848.4700
Attorneys for Defendant
ClearChoice Management Services, LLC

                                  UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF NEW JERSEY


ABIGAIL ROTH,                                        Civil Action No. 1:21-cv-20440

                        Plaintiff,

vs.                                                DEFENDANT’S NOTICE TO ADVERSE
                                                        PARTY OF REMOVAL
CLEARCHOICE MANAGEMENT
SERVICES, LLC,                                                  Electronically Filed

                        Defendant.


TO:       Pro Se Plaintiff Abigail Roth
          1722 Wallace Street, Apt. 1F
          Philadelphia, PA 19130

          PLEASE TAKE NOTICE that a Notice of Removal of the above-captioned action from

the Superior Court of New Jersey, Law Division, Burlington County, New Jersey, to the United

States District Court for the District of New Jersey was filed on the 9th day of December 2021, in

the United States District Court for the District of New Jersey. A copy of the petition is attached

hereto.

                                                 Respectfully submitted,


Dated: December 9, 2021                          /s/ Lauren J. Marcus
                                                 Lauren J. Marcus
                                                 Anastasia Stylianou
                                                 LITTLER MENDELSON P.C.




4868-2576-9221.1 / 058441-1254
